     Case 1:20-cv-03661-ER Document 87 Filed 07/02/21 Page 1 of 1




July 2, 2021                                             DIRECT DIAL   216.696.2476 | chelsea.mikula@tuckerellis.com

The Honorable Edgardo Ramos
United States District Court Judge
Southern District of New York
40 Foley Square, Courtroom 619
New York, New York 10007

Re: Tradeshift, Inc. v. Smucker Services Company, Case No. 1:20-cv-3661
    Letter Motion to Seal Portions of Smucker’s Letter Brief to Compel Tradeshift Financials and
    Exhibits A, B, D, E, F, and G

Dear Judge Ramos:

         Pursuant to Rule 3(ii) of your Honor’s Individual Practices, Defendant and Counter-Plaintiff
Smucker Services Company (“Smucker’) respectfully requests leave to seal portions of Smucker’s
Premotion Letter Brief to Compel Tradeshift Financials and Exhibits A, B, C, E, F, and G. Smucker is
filing an under-seal copy and a publicly-redacted copy of that Letter Brief along with this letter motion
to seal.

        Smucker seeks leave to file portions of its Letter Brief and the above-mentioned exhibits under
seal pursuant to the protective order entered in this case on November 19, 2020. (Doc No. 57.) Under
that protective order, “a Party may not file in the public record in this action any Protected Material.”
(Id. at p. 15.) “Protected Material” includes any disclosure or discovery material designated as
confidential or as highly confidential – attorneys’ eyes only (“AEO”). (Id. at p. 3.) Smucker’s Letter
Brief includes information about Tradeshift’s financials that was derived from documents and
deposition transcripts marked confidential and AEO, including Exhibits A, B, D, E, F, and G.
Moreover, the documents are submitted solely for the purposes of resolving a discovery dispute.

        Accordingly, Smucker requests that the Court seal the redacted portions of Smucker’s Letter
Brief and Exhibits A, B, D, E, F, and G.

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                x
                                                        Respectfully,

                                                        TUCKER ELLIS LLP
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    07/02/2021

                                                        CHELSEA MIKULA

CMT:smf
